        Case 3:02-cv-00339-AN         Document 475       Filed 03/06/24    Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION
______________________________________________________________________________

DISABILITY RIGHTS OREGON et al.,                          No. 3:02-cv-00339-MO (Lead Case)
                                                       No. 3:21-cv-01637-MO (Member Case)
              Plaintiffs,
       v.                                                           OPINION AND ORDER
DAVID BADEN et al.,

              Defendants.

______________________________________________________________________________

JAROD BOWMAN et al.,                                   No. 3:21-cv-01637-MO (Member Case)
              Plaintiffs,
       v.

DOLORES MATTEUCCI et al.,

            Defendants.
______________________________________________________________________________


MOSMAN, J.,

       This matter comes before me on Defendants’ Petition for Expedited Ruling on Supremacy

Clause [ECF 460]. Amici Clackamas County, Marion County, and Washington County district

attorneys filed a response [ECF 468]. Amici judges also filed a response [ECF 470]. At issue is

whether, under the Second Amended Order to Implement Neutral Expert’s Recommendations (the

“Order”) [ECF 416], Marion County Circuit Court can order the Oregon State Hospital (“OSH”)

to provide outpatient treatment to a criminal defendant who was discharged from OSH after

inpatient restoration services failed to restore him to competency. I find that the Marion County

Circuit Court’s order violates the Supremacy Clause.


1 – OPINION AND ORDER
           Case 3:02-cv-00339-AN              Document 475            Filed 03/06/24        Page 2 of 3




                                            FACTUAL BACKGROUND 1

       On February 9, 2024, Marion County Circuit Court Judge Audrey Broyles ordered OSH to

provide outpatient restoration services to a criminal defendant. Pet. for Expedited Ruling on Sup.

Cl. at 2. The criminal defendant had received six months of restoration services at OSH—the

maximum duration of restoration under the Order—but was not restored to competency. Id. After

the criminal defendant hit the six-month limit, OSH discharged him to Marion County. Id.

       Judge Broyles determined that the criminal defendant was a public safety risk and unable

to engage in community restoration. Id. at 3. As a result, Judge Broyles ordered OSH to provide

the criminal defendant weekly outpatient restoration services. Id.

       Defendants now move for an expedited ruling, arguing that Judge Broyles’s order violates

the Supremacy Clause because the Order does not allow for outpatient treatment at OSH after a

criminal defendant has reached the maximum duration of restoration. Id. Neither the amici counties

nor the amici judges dispute the merits of Defendants’ argument.

                                                      DISCUSSION

       I find that Judge Broyles’s order violates the Supremacy Clause. The criminal defendant

in question reached the maximum duration of restoration treatment by OSH under the Order. Judge

Broyles ordered OSH to continue to provide the criminal defendant with restoration services,

nonetheless. The fact that these services are ordered by Judge Broyles to be provided on an

outpatient basis does not change the calculation. Indeed, if every county in Oregon adopted Judge

Broyles’s approach, there would be no one left at OSH to provide inpatient services. Because

Judge Broyles’s order requires OSH to provide the criminal defendant with restoration services




       1
           The Parties agree on the facts. The facts are taken from Defendants’ Petition.

2 – OPINION AND ORDER
        Case 3:02-cv-00339-AN          Document 475    Filed 03/06/24    Page 3 of 3




that exceed the Order’s maximum duration, it violates the Order. Accordingly, Judge Broyles’s

order violates the Supremacy Clause.

                                           CONCLUSION

       For the foregoing reasons, Judge Broyles’s order violates the Supremacy Clause.

       IT IS SO ORDERED.

       DATED this _____
                   6th day of March, 2024.



                                                          ________________________
                                                          ~~ (Y) ~

                                                          MICHAEL W. MOSMAN
                                                          Senior United States District Judge




3 – OPINION AND ORDER
